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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )    Case No. 21-cr-00083-TNM
                                 )
BRANDON FELLOWS,                 )
                                 )
                                 )
               Defendant         )
                                 )



                MOTION TO WITHDRAW APPEARANCE




                                      William L. Shipley, Jr., Esq.
                                      PO Box 745
                                      Kailua, Hawaii 96734
                                      Tel: (808) 228-1341
                                      Email: 808Shipleylaw@gmail.com

                                      Attorney for Defendant
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      NOW COMES William L. Shipley and moves this Honorable Court to

allow him to withdraw his appearance as counsel and appoint counsel for the

following reasons:

   1. Defendant Fellows informed undersigned that he was terminating him as

      standby counsel and requested he withdraw from the case.

   2. Undersigned is only severing as standby counsel; therefore, replacing

      undersigned with appointed counsel will not cause any updo delay to

      Defendant Fellows.

      WHEREFORE, undersigned counsel requests that he be allowed to

withdraw his appearance as counsel in this matter.



Dated: June 15, 2023                Respectfully submitted,

                                    /s/ William L. Shipley
                                    William L. Shipley, Jr., Esq.
                                    PO BOX 745
                                    Kailua, Hawaii 96734
                                    Tel: (808) 228-1341
                                    Email: 808Shipleylaw@gmail.com

                                    Attorney for Defendant
